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DOUGLAS, M.J.
OCTOBER 2, 2020

                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

ETDO PRODUCTIONS, LLC.                                               CIVIL ACTION

VERSUS                                                               NO. 19-13184

ALFREDO CRUZ, ET AL                                                  SECTION: “B” (3)



       A settlement conference in the above captioned matter is hereby SCHEDULED for

Wednesday, October 7, 2020 at 1:00 P.M. before United States Magistrate Judge Dana M.

Douglas, Room B335, Hale Boggs Building, 500 Poydras Street, New Orleans, Louisiana.

       Given the novel COVID-19 pandemic, the settlement conference set in the above

captioned matter will be held by video. The Court will contact counsel prior to your scheduled

settlement conference date with the video conference link. Participation of parties is likely to

increase the efficiency and effectiveness of the settlement conference. Therefore, all parties

shall be available by telephone for the duration of the settlement conference.

       Each party shall provide, in confidence, a concise settlement memorandum, which shall

include a brief description of (1) any liability disputes, (2) the key evidence the party expects to

produce at trial, (3) the damages at issue in the case, (4) the party’s settlement position and (5)

any other special issues that may have a material bearing upon settlement discussions (e.g.,

outstanding liens, particularly contentious litigation history, related litigation in another forum,

etc.). Also, please keep in mind that the memorandum is confidential, will not be exchanged, is

not binding, and that posturing is inappropriate and only serves to handicap the process. The
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memorandum shall be submitted at least three (3) full business days before the conference

and shall be no longer than three (3) pages double spaced. The memorandum shall be emailed

directly to: efile-douglas@laed.uscourts.gov. The email subject line should read: "Settlement

Position Paper for [case number] on [date of conference].”

       Prior to the conference, the Plaintiff(s) is/are to have made a settlement proposal. The

Defendant(s) is/are to have responded to that demand and are to have informed the Court of

that response.

       It is the duty of the parties to notify the undersigned if trial is continued, settled or

otherwise disposed of prior to the date of the scheduled settlement conference, so that the

matter may be removed from the Court’s docket.

       New Orleans, Louisiana, this 2nd day of October, 2020.



                                            ___________________________________
                                            DANA M. DOUGLAS
                                            UNITED STATES MAGISTRATE JUDGE
